        Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 1 of 81




                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION


COALITION FOR INDEPENDENT
TECHNOLOGY RESEARCH,

               Plaintiff,

       v.                                       Civil Action No. 1:23-cv-783

GREG ABBOTT, in his official capacity as
Governor of the State of Texas,

STEVEN C. MCCRAW, in his official
capacity as Director and Colonel of the Texas
Department of Public Safety,

AMANDA CRAWFORD, in her official
capacity as Executive Director of the Texas
Department of Information Resources and
Chief Information Officer of Texas,

DALE RICHARDSON, in his official capacity
as Chief Operations Officer of the Texas
Department of Information Resources,            DECLARATION OF PROFESSOR
                                                BRUCE SCHNEIER
ASHOK MAGO, LAURA WRIGHT, LINDY
RYDMAN, CARLOS MUNGUIA, MARY
DENNY, MILTON B. LEE, MELISA DENIS,
DANIEL FEEHAN, and JOHN SCOTT JR., in
their official capacities as members of the
Board of Regents of the University of North
Texas System, and

MICHAEL WILLIAMS, in his official
capacity as Chancellor of the University of
North Texas System,

               Defendants.
         Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 2 of 81




                  DECLARATION OF PROFESSOR BRUCE SCHNEIER

I, Bruce Schneier, declare:

       1.      The plaintiff in this lawsuit, the Coalition for Independent Technology Research

(“CITR”), has challenged the application of Texas’s TikTok ban to public university faculty.

Through its attorneys, CITR has asked me to assess the arguments that Texas has made in

defense of the ban. I am submitting this declaration for this purpose. My declaration is based on

expertise I have developed over the course of many years of academic study and professional

practice related to computer security, national security, and public policy. I have personal

knowledge of the facts set forth herein and, if called to testify as a witness, I could do so

competently under oath.

       2.      Below, I explain why Texas’s ban on TikTok is ineffective, counterproductive,

and unnecessary in relation to Texas’s asserted regulatory concerns—not just its general

concerns pertaining to data privacy, the spread of disinformation, and network and device

security, but also its more specific concerns regarding TikTok’s connection with China.

                                   Career and Background

       3.      I am a cryptographer, security technologist, and writer. I currently serve as an

Adjunct Lecturer in Public Policy at the Harvard Kennedy School of Government, where I teach

“Cybersecurity, Technology, Policy, and Law,” and “Future Issues in Cyber-Security Policy.” I

also serve as a fellow at the Berkman Klein Center for Internet and Society at Harvard

University, a board member of the Electronic Frontier Foundation and AccessNow, and an

advisory board member of the Electronic Privacy Information Center and VerifiedVoting.org. I

am also the Chief of Security Architecture at Inrupt, Inc., which provides data infrastructure

solutions.




                                               2
            Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 3 of 81




        4.      My work and research focus on the intersection of security, technology, and

people. I published my first book about cryptography, Applied Cryptography, in 1994. Applied

Cryptography is now widely used as an academic textbook on the theory and practice of

cryptography. I have since written more than a dozen books on these issues, including Secrets

and Lies: Digital Security in a Networked World (2000), Beyond Fear: Thinking Sensibly About

Security in an Uncertain World (2003), Liars and Outliers: Enabling the Trust that Society

Needs to Thrive (2012); and Data and Goliath: The Hidden Battles to Collect Your Data and

Control Your World (2015). In 2023, I published A Hacker’s Mind: How the Powerful Bend

Society’s Rules, and How to Bend them Back. A Hacker’s Mind discusses the ways that our

political, economic, social, legal, and even cognitive systems can be disrupted and manipulated,

for better and for worse.

        5.      I have also written hundreds of articles, essays, and academic papers. I have

published a newsletter called Crypto-Gram and a blog called Schneier on Security since 1998

and 2004, respectively. Together, these two publications are read by more than 250,000 people. I

have also been involved in the creation of numerous cryptographic algorithms—computer

functions designed to encrypt data. I have testified before Congress several times and have

served on several national and international committees. I recently co-authored a report with the

Hoover Institution at Stanford University and the American University Washington College of

Law titled Chinese Technology Platforms Operating in the United States, which proposed a

comprehensive framework for understanding and assessing the risks posed by Chinese-owned

technology platforms in the United States.1



        1
          See Gary Corn, Jennifer Daskal, Jack Goldsmith, Chris Inglis, Paul Rosenzweig, Samm Sacks, Bruce
Schneier, Alex Stamos & Vincent Stewart, Chinese Technology Platforms Operating in the United States, Hoover



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          Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 4 of 81




        6.       I received a Bachelor of Science from the University of Rochester in 1984 and a

Master of Science in computer science from American University in 1986. In 2011, I received an

honorary Ph.D. from the University of Westminster.

        7.       A copy of my curriculum vitae is attached as Exhibit 1 to this declaration. It sets

out my research, publications, and educational and professional experience in further detail.

                                            Texas’s TikTok Ban

        8.       TikTok is a social media platform that allows users to create, edit, share, and

interact with short videos. TikTok is accessible through a web browser, a desktop application, or

a mobile phone application. Its mobile application is one of the most popular apps ever made.

The platform has more than one billion monthly active users, including some 150 million in the

United States.

        9.       The TikTok app has an essentially global userbase, which skews young. In 2021,

42% of TikTok’s users were between the ages of 18 and 24, although the average age of its user

base has grown as the platform has expanded.2 About 70% of American young people use it.3

        10.      Speech on TikTok covers everything from political advocacy and news to

entertainment and educational content. A significant portion of the content viewed on TikTok

comes from American users. While users in the United States account for 10% of TikTok’s

global audience, content created by U.S. users accounts for 25% of views around the world.4



Inst., https://www.hoover.org/sites/default/files/research/docs/chinesetechplatforms_webreadypdf.pdf (Feb. 11,
2023) (“Hoover Institution Report”).
         2
           Grace Mayer, The Average TikTok User in the US is an Adult ‘Well Past College Age,’ CEO Says, Bus.
Insider (Mar. 22, 2023), https://www.businessinsider.com/tiktok-user-average-age-united-states-adult-past-college-
ceo-2023-3; see also Shou Chew, Testimony Before the U.S. House Committee on Energy and Commerce, Written
Statement of Testimony 1 (Mar. 23, 2023) (“Chew Testimony”).
         3
           Felix Richter, 7 in 10 American Teens Use TikTok, Statista (Nov. 6, 2020),
https://www.statista.com/chart/22446/most-used-social-media-platforms-by-us-teens.
         4
           Chew Testimony, supra note 2, at 1.



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            Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 5 of 81




        11.     TikTok is operated by TikTok Inc., a U.S. company that is incorporated in

California and has headquarters in California and Singapore. TikTok Inc. is owned by

ByteDance Ltd, which is incorporated in the Cayman Islands and based in China.

        12.     On December 7, 2022, Texas Governor Greg Abbott issued a directive requiring

all state agencies to ban the use or downloading of TikTok on state-owned devices. The directive

cited concerns about data collection, disinformation, and the fear that “the Chinese

government . . . wields TikTok to attack our way of life.”5 Texas’s Department of Public Safety

and Department of Information Resources subsequently developed a Model Security Plan that

recited the same concerns.6 More recently, the Texas legislature passed a law7 that codified some

aspects of the TikTok ban, again citing concerns related to TikTok’s ties to China.8

        13.     Texas’s TikTok ban extends to faculty at public universities. It prohibits faculty

from installing TikTok on university-issued devices and from using TikTok on university

networks. It even prohibits faculty from installing or using TikTok on any personal devices that

are also used to conduct university business—for example, accessing university email. The

TikTok ban is categorical and applies to all public university faculty, including faculty whose

research and teaching relates to the platform.

        14.     Texas’s TikTok ban is similar in some ways to bans on the use of TikTok on

government-issued devices ordered by the White House, the European Commission, Canada, and

the United Kingdom. However, these other bans appear to cover a narrower set of employees or

contain important exceptions that are missing from the Texas ban. For instance, the U.K. ban


        5
          Letter from Governor Greg Abbott, to State Agency Heads (Dec. 7, 2022).
        6
          Model Security Plan for Prohibited Technologies, Tex. Dep’t of Pub. Safety & Tex. Dep’t of Info.
Resources, at 3 (Jan. 26, 2023).
        7
          S.B. 1893, 2023 Leg. Sess., 88th Sess. (Tex. 2023).
        8
          See Bill Analysis, House Committee Report, S.B. 1893 (2023).



                                                    5
            Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 6 of 81




does not apply to government employees’ personal devices and indicates that exemptions may be

granted, for example, “for the purposes of work on online harms.”9

        15.     Texas has not explained its justification for the TikTok ban with any specificity.

My understanding from the public record is that the TikTok ban is based on general concerns

about data collection, the spread of disinformation, and (possibly) network security, as well as

specific concerns relating to TikTok’s connections to China. As I explain below, however, the

ban does not actually address these concerns, and in some respects the ban is not just ineffective

but counterproductive. The ban is also unnecessary, because Texas could address its stated

concerns more effectively without requiring a ban on the use of TikTok by public university

faculty.

                                   The TikTok Ban is Ineffective

        16.     The TikTok ban does not meaningfully advance the governmental interests that

Texas has cited. Intrusive data collection practices, the spread of disinformation, and risks to

network and device security are serious concerns, but they are not unique to TikTok. Rather, they

are problems that are present on all popular online platforms, including American-owned apps

and services. Banning the use of TikTok by public university faculty will not effectively address

these issues. Nor will the ban effectively address Texas’s specific concerns around TikTok’s

connections to China. Even assuming that there is a significant likelihood that the Chinese

government will acquire access to TikTok’s American-user data and that Texas’s TikTok ban

will cut off that direct access (both questionable premises), the Chinese government can acquire

Americans’ data from commercial data brokers, advertising aggregators, and other apps and


        9
           Cabinet Office and Oliver Dowden, TikTok banned on UK government devices as part of wider app
review, GOV.UK (Mar. 16, 2023), https://www.gov.uk/government/news/tiktok-banned-on-uk-government-devices-
as-part-of-wider-app-review.



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         Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 7 of 81




devices that send or sell data directly to China. Banning TikTok does not meaningfully limit the

Chinese government’s ability to acquire data about Texans, including about state employees.

       A.      Texas’s Concerns Relating to Data Collection

       17.     Texas’s TikTok ban does not effectively protect the data privacy of Texans

because it does nothing to address the root of the issue: the intrusive data collection practices

themselves.

       18.     To be sure, TikTok collects sensitive information about its users, including its

American users. Government officials are right to be concerned about the ability of private

companies—including TikTok—to collect, aggregate, and use sensitive user data. But TikTok is

not distinctive in its data-collection practices. Indeed, other major online platforms collect as

much data from their users as TikTok does from its users. Take, for instance, Google, which

operates, among other things, the Google search engine, the video sharing platform YouTube,

the e-mail service Gmail, the mobile payment service Google Pay, and the web browser Chrome.

Across its many apps and services, Google collects a vast amount of sensitive, personal

information from and about its users. This includes the terms users search for, the videos they

watch, the people they communicate with, the payments they make, and the websites they

browse.10 Google even records users’ voice and audio information, as well as their activity on

third-party sites.11 The popular social media platform Facebook likewise collects an enormous

amount of information from its users, including their network of friends and connections, the

location of their devices, the frequency and duration of their activities on the platform, and their

activities off-platform.12 Apps like the French-owned BeReal, Israeli-owned Viber, and South-


       10
          See Privacy Policy, Google (Jul. 1, 2023), https://policies.google.com/privacy.
       11
          Id.
       12
          See Privacy Policy, Meta (Jun. 15, 2023), https://www.facebook.com/privacy/policy.



                                                      7
           Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 8 of 81




Korean-owned Line collect similar information. So too do seemingly innocuous apps that have

no need for this kind of data. Even an app that operates only as a flashlight may be tracking and

selling its users’ locations.

        19.     Texas’s ban is also ineffective because it covers only state employees, not all

Texans. To be clear, I am not suggesting that a broader ban would be appropriate or justified. In

most ways, a broader ban would be even more problematic than a narrower one. However,

Texas’s ban could not possibly protect the data privacy of Texans generally. Even as to Texas

state employees specifically, banning TikTok from state employees’ devices does not prevent

TikTok from collecting their sensitive personal data anyway. Like many other companies,

TikTok uses trackers called pixels that gather data about people as they travel across the web,

even if they do not use the TikTok app or have a TikTok account. Advertisers can embed

TikTok’s tracking pixels into their websites. TikTok then uses the information gathered from

pixels to help those advertisers target ads to potential consumers and measure how well ads are

doing. When someone visits a website with a TikTok tracking pixel, the pixel sends information

to TikTok, like that person’s IP address, the page they’re visiting, and their activity on the

website. When it can, the pixel also collects the person’s email address, phone number, and IP

address and tries to use that information to connect the browsing session to an existing TikTok

user. TikTok collects this information even from people who have never created a TikTok

account.

        20.     So long as Texas state employees continue to visit websites with TikTok tracking

pixels, TikTok can still collect sensitive personal information about those employees. That is true

even if those employees no longer use the TikTok app or, indeed, never had a TikTok account in

the first place. Moreover, the Texas ban does not stop TikTok from gathering data from state




                                                8
         Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 9 of 81




employees through the TikTok app or website itself, as the ban does not broadly preclude

employees from downloading and using TikTok on personal devices—so long as those devices

are not used to access state accounts. Nor does the ban prevent TikTok from collecting data

about state employees from their family members, friends, and professional connections.

        21.     All of this is to say that Texas’s TikTok ban does not protect the data privacy of

Texans because it does not restrict TikTok, or any other company, from collecting sensitive

information. Addressing data privacy concerns in an effective way requires policy responses

aimed at data collection, not bans on specific apps. Glenn S. Gerstell, a former general counsel to

the National Security Agency, recently observed that banning TikTok would only “sidestep a

broader problem—our nation’s overall failure to address concerns over the huge amount of

personal data collected in our digital lives.”13 I agree with Mr. Gerstell. I and a number of co-

authors said as much in a report recently published by the Hoover Institution and the American

University Washington School of Law. In that report, we called for “strong privacy legislation”

that provides “better controls on data collection, sale, and aggregation by private companies,”

including “limitations on data collection by private companies.”14

        22.     My understanding is that Texas has distinct concerns about TikTok relating to the

collection of Texans’ data by a company connected to China. But Texas’s TikTok ban is

ineffective at addressing these concerns as well.

        23.     There is no doubt, of course, that the Chinese government is interested in data

about Americans. But the suggestion that China has unfettered access to TikTok’s data is at least

questionable. And although Texas has said that the Chinese government could use China’s


        13
            Glenn S. Gerstell, The Problem With Taking TikTok Away From Americans, N.Y. Times (Feb. 1, 2023),
https://www.nytimes.com/2023/02/01/opinion/tiktok-ban-china.html.
         14
            Hoover Institution Report, supra note 1, at 10.



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        Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 10 of 81




National Intelligence Law to compel TikTok to share data about American users, there is no

evidence that the Chinese government has ever done this in the past. I do not want to suggest that

China’s National Intelligence Law poses no threat to data privacy. It does. However, the idea that

providing any data to TikTok is synonymous with providing that data to the Chinese government

is too simplistic.

        24.     The more important point, however, is that the Chinese government does not need

TikTok to access large volumes of sensitive data about Americans. As I and my co-authors wrote

in the Hoover Institution Report, when assessing the “threat posed by access to data from

communications platforms and apps, it is also critical to assess whether and to what extent the

data provides additional value beyond what is available to China via scraping of publicly

available data sources, purchasing from data brokers, illegal theft, or other alternative

mechanisms of acquiring the data.”15 Even if the Chinese government did have access to

TikTok’s data, it would likely provide little, if any, additional value beyond what the Chinese

government could acquire through commercially available data sold by data brokers.

        25.     Commercial data brokers collect, aggregate, and sell a vast amount of sensitive

personal information. These companies assemble detailed dossiers of individual users by

compiling trails of data collected by everything from smartphone apps and social media websites

to automobiles and “smart” devices like fitness trackers, speakers, doorbells, fridges, TVs, and

even scales. Researchers at Northeastern University ran 34,586 tests on 81 different smart

devices, revealing that 72 of the 81 devices sent information to at least one third-party.16 More




        15
          Id. at 7.
        16
          See Jingjing Ren et al., Information Exposure From Consumer IoT Devices: A Multidimensional,
Network-Informed Measurement Approach, 2019 Proc. of the Internet Measurement Conf. 267, 267 (2019).



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         Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 11 of 81




than half of the overall destinations for data transmitted by U.S.-made devices were third parties,

and 56% of U.S. devices contacted destinations outside their region, including China.17

         26.      Data brokers typically have access to basic information like a person’s

demographic details and IP address history, but they often also have access to additional

information that is more sensitive, including records of the person’s specific locations, biometric

identifiers, sleep patterns, browsing histories, political preferences, social networks, personal

interests, and purchases. The location information in many brokers’ data sets is typically accurate

to within a few yards, and in some cases it is updated more than 14,000 times per day.18 Even

data that is supposedly anonymized can be attributed to specific individuals, and data brokers can

combine data to reverse engineer identities or deanonymize various kinds of information. A

recent report prepared by the Office of the Director of National Intelligence (“ODNI”) on data

brokers and commercially available information concluded that such information “can provide

significant intelligence value,” both to the U.S. intelligence community and its adversaries and

both on its own and in combination with other information collected using classified sources and

methods.19 The report acknowledged that the U.S. government is capable of identifying and

deanonymizing individuals’ data using these commercially available datasets.20

         27.      Government employees have their data harvested and aggregated by data brokers,

just like everyone else. Companies like Nielsen and LexisNexis, U.S.-based data brokers,



         17
            Id. at 267, 272.
         18
            Jennifer Valentino-DeVries et al., Your Apps Know Where You Were Last Night, and They’re Not
Keeping It Secret, N.Y. Times (Dec. 10, 2018), https://www.nytimes.com/interactive/2018/12/10/business/location-
data-privacy-apps.html.
         19
            Office of the Dir. of Nat’l Intel. Senior Advisory Grp., Panel on Commercially Available Info., Report to
the         Director         of        National         Intelligence        7–14      (Jan.        27,        2022),
https://www.dni.gov/files/ODNI/documents/assessments/ODNI-Declassified-Report-on-CAI-January2022.pdf
(“ODNI Report”).
         20
            Id. at 11.



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        Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 12 of 81




explicitly advertise their ability to identify active military personnel.21 Another broker, Acxiom,

touts that its datasets contain information on 9.8 million teachers and college professors, 21.3

million government employees, and 45.5 million military personnel and veterans.22

        28.     There is virtually no regulation of the data broker industry in the United States,

making it easy and profitable for brokers to sell private information to anyone looking to buy—

including foreign governments. Data brokers seldom ask questions about who is purchasing the

data they aggregate. It would be trivial for the Chinese government to buy enormously detailed

datasets about Americans, either directly or through a third party to disguise themselves. As the

ODNI report acknowledged, the U.S. government itself already acquires a large amount of

commercially available information from data brokers.23 The information is also readily

available to foreign governments and their intelligence agencies.24 Indeed, the ODNI report

explained that the U.S. intelligence community was “strongly of the view that it will be at a

significant disadvantage vis a vis foreign adversaries and competitors if it does not enjoy certain

access to [commercially available information].”25

        29.     The Chinese government also appears to scrape data from foreign social media

websites—including American companies like Facebook and Twitter—to use for intelligence

purposes. In 2021, the Washington Post reviewed bidding documents and contracts for more than

300 Chinese government projects since 2020 and found “orders for software designed to collect




        21
            Justin Sherman, Data Brokers and Sensitive Data on U.S. Individuals, Duke Sanford Cyber Pol’y
Program 3 (2021), https://techpolicy.sanford.duke.edu/wp-content/uploads/sites/4/2021/08/Data-Brokers-and-
Sensitive-Data-on-US-Individuals-Sherman-2021.pdf.
         22
            Id. at 4.
         23
            ODNI Report, supra note 19, at 7–8.
         24
            Id. at 9, 13, 17.
         25
            Id. at 9.



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         Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 13 of 81




data on foreign targets from sources such as Twitter, Facebook and other Western social

media.”26

        30.      Accordingly, the Chinese government can collect immense volumes of data about

Americans without ever accessing the data collected by TikTok. Indeed, it can collect this data

through data brokers based in China. Adtiger, for instance, is the operator of one of the largest

Chinese advertising marketplaces. Adtiger partners with American social media companies as

well as other Chinese companies that collect and aggregate data from American apps and

platforms. Altogether, Adtiger has access to an enormous swath of sensitive user information

from Facebook, Snap, Gmail, YouTube, Twitter, and likely every other popular digital platform.

This data is already stored on China-based servers, and likely several times over.

        b.       Texas’s Concerns Relating to Disinformation

        31.      Banning TikTok is not likely to meaningfully address the spread of

disinformation online.

        32.      As an initial matter, it is important to recognize that all social media platforms,

including American ones, are susceptible to being used to disseminate disinformation. One

recent study from researchers at New York University and the Université Grenoble Alpes on user

behavior on Facebook around the 2020 election found that sources known for publishing

misinformation received more than six times as many likes, shares, and interactions on Facebook

as trustworthy sources did.27




        26
             Cate Cadell, China harvests masses of data on Western targets, documents show, Wash. Post. (Dec. 31,
2021),          https://www.washingtonpost.com/national-security/china-harvests-masses-of-data-on-western-targets-
documents-show/2021/12/31/3981ce9c-538e-11ec-8927-c396fa861a71_story.html.
          27
             Laura Edelson et al., Understanding engagement with U.S. (mis)information news sources on Facebook,
2021        Proc.      of    the      21st     ACM       Internet    Measurement       Conf.      444     (2021),
https://dl.acm.org/doi/pdf/10.1145/3487552.3487859.



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         Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 14 of 81




        33.      Also, all social media platforms, including American ones, can be exploited by

foreign powers interested in influencing Americans. Multiple foreign governments have engaged

in disinformation campaigns using American-based platforms. For instance, the Justice

Department has indicted Iranian nationals for engaging in a coordinated conspiracy through

Facebook, YouTube, and Twitter to influence American voters in connection with the 2020

election.28 Similarly, Special Counsel Robert Mueller’s report on Russia’s interference with the

2016 election detailed Russian operatives’ attempts to influence voters through accounts and

pages on Facebook, Instagram, and Twitter that falsely claimed to be controlled by U.S.

activists.29 Indeed, Facebook’s capacity, in particular, to spread foreign disinformation has been

well-documented.30 More recently, there are indications that Russian actors have used Twitter

and Facebook to spread misinformation about the war in Ukraine.31 What these examples make

clear is that foreign governments already exploit American-owned platforms to spread

disinformation. They do not need to own or be closely associated with a platform to do so.

        34.      Texas’s TikTok ban will not meaningfully affect the ability of the Chinese

government, in particular, to disseminate disinformation and propaganda. It can easily

disseminate propaganda on other platforms, including American ones. Chinese state media

organs like the People’s Daily newspaper are available on Google and have prominent accounts

on both Facebook (85 million followers) and Twitter (6.6 million followers). The Chinese

government also uses social media to engage in mis- and disinformation in more subtle ways. In

         28
            See Sealed Indictment, United States v. Seyed Mohammad Hosein Mousa Kazemi, No. 21-cr-644
(S.D.N.Y. 2021).
         29
            See Special Counsel Robert S. Mueller, III, U.S. Dep’t of Justice, Report on the Investigation into
Russian Interference in the 2016 Presidential Election (2019).
         30
            See, e.g., Cecilia Kang & Sheera Frenkel, An Ugly Truth: Inside Facebook’s Battle for Domination
(2021).
         31
            See Peter Suciu, Russian ‘Sock Puppets’ Spreading Misinformation On Social Media About Ukraine,
Forbes (Mar. 10, 2022), https://www.forbes.com/sites/petersuciu/2022/03/10/russian-sock-puppets-spreading-
misinformation-on-social-media-about-ukraine/?sh=7f660de15679.



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         Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 15 of 81




2020, Twitter suspended more than 23,000 accounts that it suspected of using propaganda to

undermine the Hong Kong protests and counter criticism of Beijing’s coronavirus response at the

behest of the China’s Communist Party.32 Beijing apparently works closely with foreign

influencers living in China to create and distribute pro-China videos that have hundreds of

millions of views on Facebook, Twitter, and YouTube.33

         c.       Texas’s Concerns Relating to Security

         35.      Texas’s TikTok ban will not meaningfully protect Texans from malware or other

cybersecurity-related vulnerabilities.

         36.      It is certainly possible that TikTok could be used as a means of delivering

malware to Americans, but this risk is not unique to TikTok. Other apps and devices, including

American ones, can be used as vectors for malware or used to gain unauthorized access to

networks and devices. University researchers have discovered security vulnerabilities in the

encryption for the video-conferencing platform Zoom34 and the audio-chat app Clubhouse.35

Vulnerabilities have also been found in intentional design features built into the messaging

service WhatsApp,36 an app that touts its commitment to privacy and security. Russian hackers

have attempted to use social media platforms like Twitter to gain access to computers belonging



         32
             Ellen Nakashima, Elizabeth Dwoskin, and Anna Fifield, Twitter removes more than 23,000 accounts it
says      are      linked    to      China’s     Communist      Party,     Wash.      Post     (Jun.    11,     2020),
https://www.washingtonpost.com/world/asia_pacific/twitter-removes-almost-25000-accounts-it-says-are-linked-to-
chinas-communist-party/2020/06/11/8c9ec770-aa38-11ea-a43b-
be9f6494a87d_story.html?itid=lk_inline_manual_83.
          33
             See Paul Mozur, How Beijing Influences the Influencers, N.Y. Times (Dec. 13, 2021),
https://www.nytimes.com/interactive/2021/12/13/technology/china-propaganda-youtube-influencers.html.
          34
             See Bill Marczak and John Scott-Railton, Move Fast and Roll Your Own Crypto, Citizen Lab (Apr. 3,
2020), https://tspace.library.utoronto.ca/bitstream/1807/104313/1/Report%23126--zoom.pdf.
          35
             See Jack Cable et al., Clubhouse in China: Is the data safe?, Stan. Internet Observatory (Feb. 12, 2021),
https://cyber.fsi.stanford.edu/io/news/clubhouse-china.
          36
             WhatsApp design feature means some encrypted messages could be read by third party, The Guardian
(Jan.     13,    2017),     https://www.theguardian.com/technology/2017/jan/13/whatsapp-design-feature-encrypted-
messages.



                                                         15
        Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 16 of 81




to Pentagon officials. Researchers have even demonstrated the ability to compromise Internet-

enabled cars, home thermostats, and implanted medical devices.

       37.        As I and my co-authors have explained in our Hoover Institution Report, “anyone

or any device or system—irrespective of country of origin— could become a threat vector,” and

“[e]very piece of software or hardware has vulnerabilities that can be exploited.”37 Perhaps the

clearest illustration is the 2019 attack on SolarWinds, a Texas-based company that provides

network management software to many federal government entities. After Russian hackers

injected “trojanized” code into one of SolarWinds’ network monitoring products, SolarWinds

pushed that code out to its government customers through a software update. This provided the

perpetrators with a “back door” into the networks of over 14,000 SolarWinds clients, including

the National Institutes of Health, the National Telecommunication and Information

Administration, parts of the Pentagon, and even the Cybersecurity and Infrastructure Security

Agency. Banning TikTok does not effectively address these concerns with device and network

security.

       38.        Texas’s TikTok ban also does not decrease the risk of security breaches

originating from the Chinese government specifically. While TikTok, like any other application,

could be used to introduce malware, any effort to infect the devices of 150 million Americans

would likely be detected in short order. This kind of cyberattack—particularly if it were directed

by the Chinese government—would also present such a catastrophic foreign relations problem

that it would be extremely unlikely unless the countries were on the brink of war.




       37
            Hoover Institution Report, supra note 1, at 4.



                                                             16
         Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 17 of 81




                               The TikTok Ban is Counterproductive

        39.     In at least one respect, Texas’s TikTok ban is not just ineffective in relation to the

concerns Texas has cited, but counterproductive. This is because the ban impedes important

research relating to TikTok, including work relating to data privacy, the spread of

disinformation, and security.

        40.     Much of what we know about these risks, in fact, is the result of scholarly

research. For instance, two years ago researchers at the University of Toronto’s Citizen Lab

conducted a comprehensive security and privacy analysis of the platform.38 By operating the

TikTok app and then examining the app’s network traffic, researchers were able to learn about

the precise types of data the app collected, when that data was transmitted, and its destination.

The researchers also evaluated and tested the encryption and security protocols that TikTok used

to protect this network traffic. Understanding what sensitive information TikTok collects, how

TikTok uses and secures this information, and who TikTok shares this information with is

crucial to assessing the impact of those practices on user privacy and security. Gaining a

complete understanding of these risks requires additional research into TikTok’s data and

security practices, research that Texas’s ban hinders.

        41.     Much of what we know about disinformation on TikTok also comes from

scholarly research. For example, research from the University of Arizona College of Medicine

helped to uncover the scope and extent of medical misinformation on TikTok, finding that nearly

40 percent of TikTok posts about liver disease contained some kind of misinformation.39


        38
             See Pellaeon Lin, TikTok vs Douyin: A Security and Privacy Analysis, Citizen Lab (Mar. 22, 2021),
https://tspace.library.utoronto.ca/bitstream/1807/123974/1/Report%23137--TikTok.pdf.
          39
             See TikTok Hosts the Latest Dance Moves and Bad Information on Liver Disease, Digestive Disease
Week 2023 (May 9, 2023), https://ddw.org/2023/06/01/tiktok-hosts-the-latest-dance-moves-and-bad-information-
on-liver-disease.



                                                     17
          Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 18 of 81




Banning TikTok suppresses independent research into mis- and disinformation on the service.

By preventing researchers from accessing TikTok, including to evaluate the platform’s content

moderation practices and recommendation algorithm, Texas’s ban will make it more difficult to

understand whether and how TikTok may be responsible for spreading mis- and disinformation

on its platform.

        42.     Research on TikTok is also necessary to evaluate the efficacy of methods used to

combat mis- and disinformation. The Harvard Kennedy School recently published a study by

researchers from the University of Regina assessing the effectiveness of “debunking” videos in

correcting misinformation claims.40 Researchers showed participants a combination of TikTok

videos with misinformation and TikTok videos that sought to correct that misinformation and

evaluated the impact of the correction videos on participants’ belief in the misinformation claim.

Texas’s TikTok ban impedes additional work of this kind, which can help identify strategies to

address concerns with the spread of mis- and disinformation online.

                                  The TikTok Ban is Unnecessary

        43.     As   explained     above,    Texas’s    TikTok     ban    is   ineffective   and   even

counterproductive in relation to the concerns that Texas has cited to defend the ban. It is also

unnecessary. Texas could address its concerns about data collection, the spread of

disinformation, and security without broadly banning public university faculty from accessing

TikTok.

        44.     As I have explained already, there are real and serious problems that arise from

the ability of digital platforms to collect sensitive information about Americans on a massive


        40
           See Puneet Bhargava et al., How effective are TikTok misinformation debunking videos?, 4 Harv.
Kennedy Sch. Misinformation Rev. (Mar. 29, 2023), https://misinforeview.hks.harvard.edu/wp-
content/uploads/2023/03/bhargava_tiktok_debunking_videos_20230329.pdf.



                                                   18
        Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 19 of 81




scale. But Texas can address or mitigate these concerns without banning TikTok. For example,

as I and my co-authors explained in our Hoover Institution Report, Texas could enact “strong

privacy legislation” that provides “better controls on data collection, sale, and aggregation by

private companies.”41 This includes “limitations on data collection by private companies as well

as limits on the data brokerage industry, so as to restrict its buying and selling of information.”42

Privacy legislation would not only help secure data privacy, it would also “help ensure better

data security” and “limit the amount and type of data that foreign actors can exploit and the

potential for malicious actors (including foreign adversaries such as China) to engage in such

activities as espionage and disinformation campaigns.”43

       45.      There is broad consensus among technology policy experts and the general public

about the necessity of comprehensive data privacy regulation. Glenn Gerstell, the former general

counsel to the National Security Agency, has explained that “[t]he optimal way forward would

be for Congress to pass a law governing the collection and misuse of online personal and

commercial data that would apply not only to current apps such as TikTok but also to future

digital apps (foreign owned or not) posing security or privacy concerns.”44 As he has written,

“[i]f we had comprehensive laws that limit the collection and misuse (including the potential

export to China) of Americans’ online personal data, then fears about the Chinese authorities

using the app for surveillance and data collection would be greatly reduced.”45 Moreover, “[t]he

freewheeling data broker business would also be restricted, so all that data would no longer be




       41
          Hoover Institution Report, supra note 1, at 10.
       42
          Id.
       43
          Id.
       44
          Gerstell, supra note 13.
       45
          Id.



                                                        19
         Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 20 of 81




readily available.”46 I agree with Mr. Gerstell on these points. Privacy regulation—at the federal

level, or even the state level—would be an effective way of addressing or significantly

mitigating the concerns about data collection, and it would not require a ban on public university

professors’ access to TikTok. Such regulation would protect Americans in the long term, and not

just from the “app of the week.”

        46.      Even if Texas is specifically concerned about the potential for TikTok to store

Americans’ user data in China, narrower alternatives than an outright ban would address this

issue. Texas could, for instance, require TikTok and other platforms with connections to China to

store data belonging to American users in the United States and to manage those data operations

from the United States. TikTok has begun work on a data localization initiative called Project

Texas. Under Project Texas, TikTok has created a new subsidiary entity called TikTok U.S. Data

Security to manage all business functions that require access to U.S. user data, as well as the

systems that deliver content to U.S. users. TikTok reports that, as of June 2022, all U.S. user

traffic is now routed to servers in the United States, and all access to that environment is

managed by TikTok U.S. Data Security.47 Rather than ban TikTok, Texas could address its

concerns relating to the storage of Americans’ user data in China by mandating and overseeing

data localization efforts.

        47.      Texas can also address or mitigate concerns relating to the spread of

disinformation without banning TikTok. For instance, Texas could mandate greater transparency

into digital platforms’ content moderation practices. It could require TikTok and other platforms

to disclose its contacts and connections with foreign governments, including China. Additionally,


        46
            Id.
        47
            Where does TikTok store U.S. user data?, TikTok U.S. Data Sec., https://usds.tiktok.com/where-does-
tiktok-store-u-s-user-data.



                                                      20
          Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 21 of 81




Texas could protect and promote the ability of journalists and researchers to study disinformation

on online platforms. It could, for instance, compel TikTok and other platforms to provide

researchers access to the platform or to develop application programming interfaces that will

allow independent parties to test and audit the platform. These policies would help governments

and the public better understand how best to address concerns with the spread of disinformation

online.

          48.    And Texas can address or mitigate concerns related to device and network

security without banning TikTok. In particular, concerns relating to the use of TikTok by public

university employees who have access to sensitive information or critical infrastructure could be

addressed with a much narrower policy than an outright ban. After the federal government

learned that Fitbit fitness trackers and other location-tracking devices could be used to monitor

personnel at sensitive locations, the Department of Defense addressed this concern by revising its

policy to prohibit location tracking functionality, but only “while in locations designated as

operational areas.”48 Even then, the policy permitted commanders to authorize the use of these

capabilities on government-issued devices “based upon mission necessity.”49 A more limited

prohibition on the use of TikTok on devices with especially sensitive information that raises a

demonstrable security concern would satisfy Texas’s interest more directly than a blanket ban.

Thus, even if a ban on TikTok were appropriate, a narrower ban—one that applied only to those

state employees with access to sensitive information, for example—would achieve Texas’s aims.

          49.    Public universities could also address security concerns by issuing dedicated

devices to faculty engaged in TikTok-related research and by establishing dedicated networks for

          48
            See Patrick M. Shanahan, Deputy Secretary of Defense, Use of Geolocation-Capable Devices,
Applications, and Services, Dep’t of Def. (Aug. 3, 2018), https://media.defense.gov/2018/Aug/06/2001951064/-1/-
1/1/GEOLOCATION-DEVICES-APPLICATIONS-SERVICES.PDF.
         49
            Id.



                                                      21
        Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 22 of 81




use of TikTok in research and teaching. Whether these measures are necessary is questionable,

but they would achieve Texas’s stated goals without imposing such a significant cost on

academic freedom. Notably, the Cybersecurity and Infrastructure Security Agency has advised

network administrators to improve network security by segmenting networks based on role and

function and segregating sensitive information.50 There is no reason why measures like this—

which would be trivial for public universities to implement—would not achieve Texas’s stated

aims here.

        50.     Additionally, effective audits and reviews could protect Texas against potential

cybersecurity vulnerabilities that could result from government employee use of TikTok. In our

report with the Hoover Institution, I and my co-authors noted that the United Kingdom has

attended to concerns about the security of its 5G telecommunications equipment by establishing

a testing and evaluation center that probes for security vulnerabilities and assesses security risk.51

I also agree with the recommendation of the U.S. Cyberspace Solarium Commission that better

product testing in the United States can help ameliorate security risks that arise from the broader

digital supply chain.52 Rather than ban TikTok, Texas could address security concerns by

pursuing more comprehensive audits and reviews of TikTok’s platform.

        51.     I declare under penalty of perjury that the foregoing is true and correct.

                                                    Respectfully submitted,



                                                    Bruce Schneier
August 15, 2023

        50
             See Securing Network Infrastructure Devices, Cybersecurity & Infrastructure Sec. Agency Blog,
https://www.cisa.gov/news-events/news/securing-network-infrastructure-devices.
          51
             See Hoover Institution Report, supra note 1, at 9.
          52
             See U.S. Cyberspace Solarium Commission, Building a Trusted ICT Supply Chain 12 (Oct. 2020),
https://drive.google.com/file/d/1efo96fPx5WkOxTiFFY1r5y3lFqdit00C/view.



                                                   22
Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 23 of 81




                  EXHIBIT 1
       Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 24 of 81




                              Bruce Schneier

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Background
Bruce Schneier is an internationally renowned security technologist, called a “security
guru” by the Economist. He is the New York Times best-selling author of 14 books—
including Click Here to Kill Everybody—as well as hundreds of articles, essays, and
academic papers. His influential newsletter Crypto-Gram and blog Schneier on Security
are read by over 250,000 people. Schneier is a fellow at the Berkman-Klein Center for
Internet and Society at Harvard University; a Lecturer in Public Policy at the Harvard
Kennedy School; a board member of the Electronic Frontier Foundation, AccessNow,
and the Tor Project; and an advisory board member of EPIC and VerifiedVoting.org. He
is the Chief of Security Architecture at Inrupt, Inc.


Professional Experience
2019–present, Chief of Security Architecture, Inrupt, Inc., Boston, MA.
2016–2019, Chief Technology Officer, IBM Resilient, and special advisor to IBM
Security, Cambridge, MA.
2014–2016, Chief Technology Officer, Resilient Systems, Inc. (formerly called Co3
Systems, Inc.), Cambridge, MA.
2006–2013, Chief Security Technology Officer, British Telecom, London, UK.
1999–2006, Chief Technology Officer, Counterpane Internet Security, Inc., Cupertino,
CA.
1993–1999, President, Counterpane Systems, Oak Park, IL and Minneapolis, MN.
1991–1993, Member of Technical Staff, AT&T Bell Labs., Schaumburg, IL.
1990, Director of Operations, Intelligent Resources Information Systems, Inc., Chicago,
IL.
1987–1990, Program Manager, Space and Naval Warfare Systems Command, Arlington,
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1984–1987, Electronics Engineer, Naval Electronics Systems Security Engineering
Center, Washington, DC.
       Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 25 of 81
Bruce Schneier CV: Academic Experience                                               2


Academic Experience
2016+, Lecturer in Public Policy, John F. Kennedy School of Government, Harvard
University.
2016–2018, Research Fellow in the Science, Technology, and Public Policy program at
the Belfer Center for Science and International Affairs, Kennedy School of Government,
Harvard University.
2013+, Fellow, Berkman Klein Center for Internet and Society, Harvard University.


Board Membership
2017+, Board Member, AccessNow, New York, NY
2013+, Board Member, Electronic Frontier Foundation, San Francisco, CA.
2016–2021, Board Member, Tor Project, Cambridge, MA.
2004–2013, Board Member, Electronic Privacy Information Center, Washington DC.


Education
MS Computer Science, American University, 1986.
BS Physics, University of Rochester, 1984.


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We Have Root: Even More Advice from Schneier on Security, John Wiley & Sons, 2019.
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Named as one of the 20 top security influencers by eSecurity Planet, June 2015.
EPIC Lifetime Achievement Award, June 2015.
Named as one of the top ten information security bloggers of 2014 by the ISO 27001 and
ISO 22301 blog, December 2014.
Named as an industry pioneer in information security by SC Magazine, December 2014.
Berkman Fellow at the Berkman Center for Internet and Society at Harvard University,
2013–2015 academic years.
Named one of the IFSEC 40: The Most Influential People in Security & Fire, January
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Honorary Doctor of Science (ScD) from University of Westminster, London, December
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CSO Compass Award, May 2010.
Named as one of the top 25 most influential people in the security industry by Security
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Inducted into the Infosecurity Europe Hall of Fame, April 2008.
Computer Professionals for Social Responsibility (CPSR) Norbert Wiener Award,
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Electronic Frontier Foundation (EFF) Pioneer Award, March 2007.
Dr. Dobb’s Journal Excellence in Programming Award, April 2006.
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Bruce Schneier CV: Published Crypto-Gram Issues                                      46


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       Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 70 of 81
Bruce Schneier CV: Published Crypto-Gram Issues                                       47


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Bruce Schneier CV: Published Crypto-Gram Issues                                     48


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Microelectronics, FTC Sues Data Broker, High-School Graduation Prank Hack, Clever
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       Case 1:23-cv-00783-DII Document 20-3 Filed 09/07/23 Page 72 of 81
Bruce Schneier CV: Significant Articles about Schneier                               49


Earlier issues of Crypto-Gram are available here:
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Bruce Schneier CV: Previous Declarations and Depositions                                  58


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